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ALAN EISNER, State Bar #127119
KESTENBAUM EISNER & GORIN LLP
14401 Sylvan Street, Suite 112

  
 

  

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Fax: (818) 781-5033 JUN -5 2ne8
Email: ae@keglawyers.com

F CALIFORNIA
Attorney for Defendant CENTRAL DISiRICt OF CA punt

LASHAWN LYNCH BY oom

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION
STATES OF AMERICA ) Case No.: CR 07-01048-VBF
)
Plaintiff, ) [PROPOSED] ORDER
)
: “fm
“a ) FILED UNDER SEAL
LASHAWN LYNCH,
3 )
Defendant. )
)
)
)

 

For good cause shown, IT IS HERBY ORDERED THAT:
The defendant’s ex parte application for sealed filing is GRANTED. The document

sought to be filed under seal and the defendant’s ex parte application for sealed filing shall both
Le forb

VALERIE BAKER FAIRBANK
UNITED STATES DISTRICT JUDGE

be filed under seal.

Dated: June DS , 2009

 

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OR IN THE CASE OF DENIAL:

WN NO F

The defendant’s ex parte application for sealed filing is DENIED. The sealing application

>

will be filed under seal. The underlying document(s) shall be returned to the defendant through

counsel, without filing of the documents or reflection of the mane or nature of the documents on

NY oO

the clerk’s public docket.
7 |} Dated: June __, 2009

8 VALERIE BAKER FAIRBANK
UNITED STATES DISTRICT JUDGE

 

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CERTIFICATE OF SERVICE

I, ALAN EISNER DECLARE:

THAT IAM A CITIZEN OF THE UNITED STATES AND RESIDENT OR EMPLOYED IN LOS ANGELES

COUNTY, CALIFORNIA; THAT I AM OVER THE AGE OF EIGHTEEN YEARS, AND AM NOT A PARTY TO
THE ABOVE-ENTITLED ACTION. THAT MY BUSINESS ADDRESS IS THE OFFICE OF KESTENBAUM &
EISNER, LLP, ATTORNEY’S AT LAW, 14401 SYLVAN ST., SUITE 112, VAN NUYS, CALIFORNIA 91401.

AT WHOSE DISCRETION I SERVED A COPY OF:

[PROPOSED] ORDER

FILED UNDER SEAL
SERVICE WAS:
[] PLACED IN A CLOSED ENVELOPE FOR {] PLACED IN A SEALED ENVELOPE
COLLECTION & INTEROFFCIE DELIVERY FOR COLLECTION & MAILING VIA
ADDRESSED AS FOLOWS: UNITED STATES MAIL, ADDRESSED
AS FOLLOWS:
[] BY HAND DELIVERY ADDRESSED [] BY FACSIMILE AS FOLLOWS:
AS FOLLOWS:
[X] BY MESSENGER AS FOLLOWS: [] BY FEDERAL EXPRESS AS
FOLLOWS:
JOHN LULEJIAN, ESQ.

ASSISTANT UNITED STATES ATTORNEY
1500 UNITED STATES COURTHOUSE
312 NORTH SPRING STREET

LOS ANGELES, CA 90012

ALBERTO GUDINO, UNITED STATES PROBATION
600 UNITED STATES COURTHOUSE

312 NORTH SPRING STREET

LOS ANGELES, CA 90012

THIS CERTIFICATE IS EXECUTED ON JUNE 3, 2009 AT ,OS ANGELES, CALIFORNIA.

I CERTIFY UNDER PENALTY OF PERJURY THAT GOING IS TRUE AND CORRECT.

A

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